      Case 6:23-ap-01061-SY         Doc 8 Filed 08/07/23 Entered 08/07/23 08:44:27                  Desc
                                     Main Document Page 1 of 2

     PETER C. ANDERSON
 1   UNITED STATES TRUSTEE
     ABRAM S. FEUERSTEIN, SBN 133775
 2   ASSISTANT UNITED STATES TRUSTEE
     EVERETT L. GREEN, SBN 237936                                          FILED & ENTERED
 3   TRIAL ATTORNEY
     UNITED STATES DEPARTMENT OF JUSTICE
 4   OFFICE OF THE UNITED STATES TRUSTEE
     3801 University Avenue, Suite 720                                           AUG 07 2023
 5   Riverside, CA 92501
     Telephone:    (951) 276-6990                                           CLERK U.S. BANKRUPTCY COURT
 6   Facsimile:    (951) 276-6973                                           Central District of California
     Email:        Everett.L.Green@usdoj.gov                                BY Mason      DEPUTY CLERK
 7

 8                                 UNITED STATES BANKRUPTCY COURT MADE BY COURT
                                                        CHANGES
                                    CENTRAL DISTRICT OF CALIFORNIA
 9
                                             RIVERSIDE DIVISION
10

11
     In re:                                               Case No. 6:22-bk-12868-SY
12
                                                          Chapter 7
     NORMA RAMIREZ,
13

14               Debtor.
     ______________________________________
15                                                        Adversary No. 6:23-ap-01061-SY
     UNITED STATES TRUSTEE FOR THE
16   CENTRAL DISTRICT OF CALIFORNIA,
17   REGION 16,                                           ORDER APPROVING STIPULATION
                                                          BETWEEN PLAINTIFF AND DEFENDANT
18                                                        TO EXTEND DEFENDANT’S TIME TO
                     Plaintiff,                           ANSWER OR RESPOND TO THE
19                                                        COMPLAINT
              v.
20
     NORMA RAMIREZ,
21
                     Defendant.
22

23

24

25            The court has reviewed the “Stipulation Between Plaintiff and Defendant to Extend Defendant’s

26   Time to Answer or Respond to the Complaint” (“Stipulation”) filed as docket number 7 on July 31, 2023,

27   by plaintiff, United States Trustee for the Central District of California, Region 16. Based upon the

28   Stipulation and good cause appearing therefor,




                                                         -1-
     Case 6:23-ap-01061-SY         Doc 8 Filed 08/07/23 Entered 08/07/23 08:44:27    Desc
                                    Main Document Page 2 of 2


 1          IT IS HEREBY ORDERED that the Stipulation is approved and defendant Norma Ramirez shall
 2   file an answer or response to the complaint no later than August 11, 2023.
 3
                                                        ###
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24
          Date: August 7, 2023
25

26

27

28




                                                         -2-
